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                    IN THE UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF ILLINOIS - EASTERN DIVISION


SMOOTHAIR, INC.,

                       Plaintiff,                            No. 21-cv-3924
v.

THE PARTNERSHIPS AND                                         Hon. Manish S. Shah
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,                                  Mag. Gabriel A. Fuentes

                       Defendants.



                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

         Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff SmoothAir,
Inc., hereby dismisses with prejudice all causes of action in the amended complaint against the
following Defendants identified in Schedule A. Each party shall bear its own attorney’s fees and
costs.

 No.              Defendant
 100              Color Your Life
 107              Dream Garden
 143              digihero
 177              XCPPEShop
 178              VVUYADTGU
 179              CNfactory
 189              Jigouery crib


         The respective Defendant has not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1)
is appropriate.

Date: November 12, 2021                              Respectfully submitted,

                                                     /S/BRANDON BEYMER
                                                     BRANDON BEYMER (ARDC NO. 6332454)
                                                     DALIAH SAPER (ARDC NO. 6283932)
                                                     SAPER LAW OFFICES, LLC
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                                                     505 N. LASALLE, SUITE 60654
                                                     CHICAGO, ILLINOIS 60654
                                                     (312) 527-4100

                                  CERTIFICATE OF SERVICE
       I hereby certify that on November 12, 2021, I will electronically file the foregoing with the

Clerk of the Court using the CM/ECF system, I will send an e-mail to the e-mail addresses provided

for Defendant by third parties.

                                                                     /s/ Brandon Beymer
                                                                     Brandon Beymer
